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 7   Lead Counsel for the Class

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 9
                                   UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
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13
     IN RE TESLA, INC. SECURITIES                        Case No. 3:18-cv-04865-EMC
14   LITIGATION
                                                         JOINT STATUS REPORT REGARDING ADR
15

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17          Pursuant to the Order re Revised Schedule for Pretrial Filings (ECF No. 427), Plaintiff Glen

18   Littleton and Defendants Tesla, Inc., Elon R. Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,

19   Antonio J. Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice submit the following

20   Joint Status Report.

21          Following the April 18, 2022 status conference, the parties met and conferred regarding

22   ADR and subsequently filed on July 1, 2022 a Stipulation and Proposed Order Regarding Local

23   Rule 7 Settlement Conference requesting that this matter be referred to a settlement conference to

24   be conducted under ADR Local Rule 7 (ECF No. 447). The Court granted the Stipulation and

25   Proposed Order on July 1, 2022 and this proceeding was referred on July 5, 2022 to Magistrate

26   Judge Donna M. Ryu for Settlement Conference (ECF No. 449). The settlement conference has not

27   yet been scheduled.

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                                                                                    JOINT STATUS REPORT
                                                                              CASE NO. 18-CV-04865-EMC
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 1

 2                                        Respectfully submitted,
 3

 4
     DATED: July 7, 2022                  LEVI & KORSINSKY, LLP
 5

 6                                        By: /s/ Nicholas I. Porritt
                                             Nicholas I. Porritt (appearing pro hac vice)
 7                                           Attorneys for Plaintiff Glen Littleton and Counsel for the
                                             Class
 8

 9
     DATED: July 7, 2022                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
10

11                                        By: /s/ Alex Spiro
                                             Alex Spiro (appearing pro hac vice)
12                                           Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
                                             Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
13                                           James Murdoch, Kimbal Musk, And Linda Johnson Rice
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17
                                            ATTESTATION
18
            I, Adam C. McCall, am the ECF user whose ID and password are being used to file the
19
     above document. In compliance with Local Rule 5-1(h)(3), I hereby attest that Alex Spiro and
20
     Nicholas Porritt have concurred in the filing of the above document.
21
                                                                /s/ Adam C. McCall
22                                                              Adam C. McCall
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                                                                                     JOINT STATUS REPORT
                                                     2                         CASE NO. 18-CV-04865-EMC
